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            EXHIBIT B
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                         IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION


  LINDSAY PENHALL, SARAH                      SUPPLEMENTAL BRIEFING IN SUPPORT
  MALDONADO, and TIFFANIE RUNNELS,            OF PLAINITFFS’ MOTION FOR
  individually, and on behalf of a class of   CLARIFICATION OF THE COURT’S
  similarly situated individuals,             MEMORANDUM DECISION AND ORDER
                                              DENYING DEFENDANT’S MOTION TO
                        Plaintiffs,           COMPEL ARBITRATION AND IN
                                              OPPOSITION TO DEFENDANT’S MOTION
    v.                                        TO COMPEL ARBITRATION

  YOUNG LIVING ESSENTIAL OILS, LC,            Case No. 2:20-cv-0617-DBB-CMR

                     Defendant.               Judge David Barlow

                                              Magistrate Judge Cecilia M. Romero




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                                          INTRODUCTION

            Even if Plaintiff Penhall were bound by the 2020 Agreement, including the 2020

  Arbitration Agreement contained therein, the terms of that Agreement preclude it from applying

  to the claims at issue in this case.1 And because the Court has determined that the Original

  Arbitration Agreement is invalid, Defendant cannot compel arbitration of Plaintiff Penhall’s

  claims.

                                            ARGUMENT

            When Plaintiff Penhall joined Young Living in 2018, she agreed to the 2016 Member

  Agreement and the 2017 Policies and Procedures (“P&Ps”). See SAC at ¶ 112; see also ECF 96-1

  at 6.2 The 2017 P&Ps contained the “Original Arbitration Agreement,” which the Court determined

  is invalid. See ECF 106.

            Critically, both the 2016 Member Agreement and 2017 Policies and Procedures contained

  an identical provision (“Retroactive Clause”) that states: “Young Living may amend the terms and

  conditions of the Agreement from time to time. . . . Amendments will not apply retroactively to

  conduct that occurred prior to the effective date of the amendment.” See ECF 96-3, Ex. B, §

  4;3 96-6, Ex. E, § 1.5 (emphasis added). By its express terms, the Retroactive Clause applies to

  any amendments to the 2016 Member Agreement and 2017 P&Ps, including any amendments to

  the Original Arbitration Agreement. Id. Moreover, an identical Retroactive Clause is contained



  1
    To be clear, Plaintiff Penhall is not bound by the 2020 Agreement, including the 2020 Arbitration
  Agreement, for the reasons articulated in Plaintiffs’ Memorandum in Opposition to Defendant
  Young Living Essential Oil’s Motion to Compel Arbitration (ECF 101), which Plaintiffs
  incorporate by reference. Plaintiffs assume that Plaintiff Penhall is bound by the 2020 Agreement
  solely for purposes of this supplemental briefing and do not waive any rights to challenge the
  validity and enforceability of that Agreement at a later time if necessary.
  2
      These two documents, as well as the Compensation Plan, constitute the “Agreement.”
  3
      In the Member Agreement, “conduct” is referred to as “your actions.”

                                                   2
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  in the 2018 P&Ps and 2020 P&Ps (which contains the 2020 Arbitration Agreement). See ECF 96-

  7, Ex. F; ECF 96-8, Ex. G.

         As relevant here, on January 1, 2020, Defendant amended the Original Arbitration

  Agreement with the 2020 Arbitration Agreement. See ECF 96-8, Ex. G. However, under the plain

  terms of the Retroactive Clause, the new, amended 2020 Arbitration Agreement “will not apply

  retroactively to conduct that occurred prior to the effective date of the amendment” (January

  1, 2020). Id. (emphasis added).

         The conduct at issue in this case concerns Plaintiff Penhall’s participation in Defendant’s

  illegal pyramid scheme, which conduct occurred years before the 2020 Arbitration Agreement

  became effective on January 1, 2020. Therefore, the Retroactive Clause, as a matter of law,

  precludes the 2020 Arbitration Agreement from applying to the conduct at issue in this case and

  on which Plaintiff Penhall’s claims are based. Indeed, Plaintiff Penhall filed her lawsuit three

  months before the 2020 Arbitration Agreement even became effective. Accordingly, even if

  Plaintiff Penhall is bound by the 2020 Arbitration Agreement (such as in the event of a future

  dispute), the 2020 Arbitration Agreement does not require arbitration of the claims at issue in this

  case, which, again, are based on conduct that occurred well before the 2020 Arbitration Agreement

  became effective. And because the Original Arbitration Clause is invalid, Defendant cannot

  compel arbitration of Plaintiff Penhall’s claims.

         In her Order transferring this case to Utah, District Court Judge Janis Sammartino relied

  on the Retroactive Clause when she rejected Defendant’s request that she consider the 2020

  Agreement, explaining: “In its Reply, Defendant produced updated versions of the Agreement and

  P&P, which it contends Plaintiff agreed to. The Court considers only the original agreements, as

  the original contained a clause that stated any ‘[a]mendments will not apply retroactively to



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  conduct that occurred prior to the effective date of the amendment.’” ECF 36-1 at 5, n.1 (internal

  citations omitted) (emphasis added).

         Notwithstanding the clear terms of the Retroactive Clause and Judge Sammartino’s

  reliance on it, in prior briefing, Defendant incorrectly argued that a specific provision in the 2020

  P&Ps allows it to disregard the Retroactive Clause and apply the 2020 Arbitration Agreement to

  the conduct at issue in this case. See ECF 96 at 18-20. Specifically, in section 13.2 of the 2020

  P&Ps, which contains the 2020 Arbitration Agreement, it states: “Young Living may amend the

  terms and conditions of this section 13.2 from time to time . . . . Amendments will not apply

  retroactively to conduct that occurred prior to the effective date of the amendment unless expressly

  accepted by the member.” Importantly, this extremely narrow provision only applies to

  amendments to the 2020 Arbitration Agreement—it does not apply to the 2020 Arbitration

  Agreement itself. And, by definition, an amendment to the 2020 Arbitration Agreement must

  necessarily occur after January 1, 2020, the date when the 2020 Arbitration Agreement became

  effective. For example, if in 2023 Defendant amends the 2020 Arbitration Agreement to require

  that arbitrations must occur in Arizona rather than in Utah, that new, amended 2023 Arbitration

  Agreement would not apply to conduct that occurred in 2021, for example, unless the Young

  Living member “expressly accepted” that change.

         Therefore, under no plain—or even strained—reading of this provision can Defendant

  apply the 2020 Arbitration Agreement to the conduct at issue in this case, which occurred years

  before the 2020 Arbitration Agreement became effective. See ECF 96-8, Ex. G. In addition, such

  a misguided interpretation would clearly and irreconcilably conflict with the Retroactive Clause,

  which, by its express terms, precludes any amendment to the Original Arbitration Agreement,

  including the 2020 Arbitration Agreement, from applying retroactively to the conduct at issue in



                                                   4
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  this case.

                                          CONCLUSION

          For the foregoing reasons, even if Plaintiff Penhall were bound by the 2020 Arbitration

  Agreement, the 2020 Arbitration Agreement does not apply to the claims at issue in this case as a

  matter of law, and therefore Defendants have no grounds to compel arbitration of Plaintiff

  Penhall’s claims.



          DATED: September 1, 2022
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